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EXHIBIT 3
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EIN: XX-XXXXXXX

OPERATING AGREEMENT

of
CHANNEL REPLY, LLC

 

THIS AGREEMENT is made and entered into on October __, 2016, by the following persons
(“Members”):

MICHAEL DARDASHTIAN
DAVID GITMAN

The following person or persons shall serve as the initial “Manager(s)” of the Company in
accordance with Article 8:

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MICHAEL DARDASHTIAN
DAVID GITMAN

Article 1
Select Definitio
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“Act” means the Limited Liability Company Act from time to time in force in the State.

“Agreement” means this Operating Agreement, as originally executed and as amended, modified,
supplemented or restated from time to time.

“Base Rate of Interest” means a rate equal to 375 basis points over the prime rate of interest as
published from time to time in The Wall Street Journal or similar publication if The Wall Street Journal is
not available.

“Charter” means the articles of organization, certificate of formation or similar instrument, as
amended from time to time, issued by the State evidencing the formation of the Company. The Charter
was issued on , 2016, and bears State File No. :

“Code” means the Internal Revenue Code of 1986, as amended from time to time.

“Company” means the limited liability company formed upon the filing of the Charter and whose
affairs are governed by this Agreement.

“Management” has the meaning set forth in Article 8.

“Manager” means the person or persons identified as such in this Agreement, including persons
subsequently appointed as such in accordance with Article 8.

“Member” means the person or persons identified as such in this Agreement, including persons
subsequently admitted to the Company as Members in accordance with Article 10. é 3
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“Profit Percentages” has the meaning set forth in Section 6.1.
“State” means the State of New York, which has issued the Company’s Charter.

Article 2
Organizational Matters

2.1 Formation and Statutory Authority,

(a) Formation. The Company was formed upon the issuance of the Charter by the State.
The Company hereby ratifies and adopts the acts and conduct of the Company’s organizer in connection
with the filing of the Charter as acts and conduct by and on behalf of the Company. The organizational
and other activities for which the organizer was responsible have been completed and the organizer is
hereby relieved of any further duties and responsibilities in that regard.

(b) Statutory Authority. The Company shall be operated as a limited ability company in
accordance with this Agreement and the Act. The rights and obligations of the Members and
Management inter se and in relation to the Company shail be determined in accordance with this
Agreement and the Act. To the extent that anything contained in this Agreement conflicts with the Act,
or modifies, supplements or otherwise affects any rights or obligations under the Act, this Agreement
shall supersede the Act, except to the extent expressly restricted by the Act.

2.2 Filings. Management shall make such filings and do or cause to be done such other acts
and things as shal] be required to continue the existence of the Company in the State and shall cause the
Company to be qualified or registered under assumed or fictitious names statutes or similar laws in any
jurisdiction in which the Company owns property or transacts business to the extent such qualification or
registration is necessary or, in the judgment of Management, advisable in order to protect the limited
liability of the Members or to permit the Company to iawfully own property or transact business.
Management shall execute, file and publish all such certificates, notices, statements or other instruments
necessary to permit the Company lawfully to own property and conduct business as a limited liability
company’ in all jurisdictions where the Company elects to own property or transact business and to
maintain the limited liability of the Members.

2.3 Name. The name of the Company is the name set forth in the heading of this Agreement.
The affairs of the Company shall be conducted under the Company name or such other name as
Management may select in accordance with the Act. If the Company uses a fictitious or assumed name,
Management shall execute and file ali certificates required by any jurisdiction in which the activities of
the Company make it necessary or desirable to do so. The Company shall have the exclusive ownership
of and right to use the Company name and any other names under which the Company conducts its
affairs.

2.4 Principal Office of the Company. The principal office of the Company shall be located at
such place within or outside the State as Management may from time to time designate. The Company
may have secondary offices at such other place or places as Management may from time to time

designate.

2.5 Records to be Maintained. Management shail at all times during the continuance of the
Company keep at the Company’s principal office such records and information as the Company may be
required to maintain in accordance with the Act.
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2.6 Registered Office and Registered Agent. Management shall designate a repistered office
and a registered agent in accordance with the Act. Management may from time to time in accordance
with the Act change the Company’s registered office and/or registered agent. Management shall select
and designate a registered office and registered agent for the Company in each other state in which the
Company is required to maintain or appoint one.

Article 3
Purpose of the Company

The purpose of the Company is to engage in any and all lawful businesses, make any and all
lawful investments and undertake such other activities related or incidental thereto as Management may
determine is in the interests of the Company, including owning membership interests in other business
entities engaging in the business of internet sales.

Article 4
Duration of the Company

4.1 Duration of the Company. The Company shall continue in perpetuity unless sooner
dissolved in accordance with the other provisions of this Article.

42 Winding-Up. The Company shall commence a winding-up of its affairs upon the earliest
of:

(a) Disposition of All or Substantially All of its Non-Cash Assets. The sale or other
disposition of all or substantially all of the Company’s non-cash assets; but if the foregoing sale or other
disposition involves (i) the receipt of a deferred payment obligation, whether or not secured, or (ii) the
receipt of payment in whole or in part in kind, then at Management’s election the term of the Company
shail not end, and it shall continue, subject to the other provisions of this Agreement, until the earlier of
the time that (A) the deferred payment obligation shall have been paid in full, (B)} the in kind
considerations received by the Company shali have been sold or otherwise converted to cash or (C)
Management elects to distribute the deferred payment obligation or in kind considerations.

(b) Decision af Management. Management’s decision to do so. Management shall provide
the Members with notice of its decision to commence the winding-up of the Company.

(c) Decision of the Members. The decision of the Members to do so. A decision of the
Members under this paragraph shall require the approval of Members holding at least fifty-one (51%)
percent of the Profit Percentages (as hereinafter defined) and the approval of Management.

(d) Judicial Dissolution. Upon the entry of a judicial decree of dissolution of the Company
in accordance with the Act.

The winding-up of the Company shall be conducted in accordance with this Agreement generally and
Article 16 in particular.

43 Continuation of Company Upon Certain Events. The death, disability, court declaration

of incompetence, bankruptcy, dissolution, liquidation or other dissociation of a Member shall not dissolve
the Company, but it shall be continued with the successor or legal representative of such Member; such
successor or legal representative shall, to the extent of the interest acquired, be entitled only to the
predecessor Member's rights, if any, in the distributions of the Company, and no such person shall have
any right to participate in the management of the affairs of the Company or vote on any Company matter

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without the written consent of Management. See Article 10 for additional provisions applicable to any
such successor or legal representative.

Article 5

Capital Contributions to the Company

5.1 Capital Contributions. Each Member shall contemporaneousty with the execution of this
Agreement contribute to the capital of the Company the amount of money or property set forth opposite
that Member’s signature hereto.

 

5.2 Additional Capital Contributions. Except as set forth in this Agreement or as required by
the Act, no Member shalt be assessed for additional capital contributions.

(a) By Agreement of Members. The Members may, by unanimous agreement, at any time or
from time to time, make additional capital contributions to the Company.

(b) By Action of Management. If Management determines that it is necessary or desirable for
the Company to obtain additional funds in the form of additional capital contributions, then:

(i) Management shall send to each Member a notice (the “First Requirement
Notice”), which shall advise Members as to the total amount of capital required
by the Company (the “Requirement Amount”), the portion of the Requirement
Amount which may be contributed by each Member (determined pro rata
according to the Members’ Profit Percentages) and the date on which such capital
is required to be contributed to the Company (the “Requirement Date”). The
Requirement Date shall be not less than 10 days after the date of the First
Requirement Notice.

(ii) Should any Member not exercise its option and contribute its capital within the
period provided in clause (i), above, Management shail promptly send to each
Member who made contributions pursuant to clause (i), above a notice {the
“Second Requirement Notice”) of the uncontributed portion of the Requirement
Amount, each of whom may elect to make a further capital additional
contribution to the Company by delivering to Management, within five days of
the date of the Second Requirement Notice, written notice of the same, which
notice shall include a statement of the maximum amount of the uncontributed
Requirement Amount such Member would be willing to contribute. The portion
of the uncontributed Requirement Amount that may be contributed by each
Member shall be determined by Management ratably according to the relative
maximum amounts that the Members propose to contribute in their notices to
Management, and shall be paid by the Member to the Company immediately
upon demand therefore. No Member, however, shall be required to pay more
than the maximum amount it proposed to contribute to the Company.

(iii) | Additional capital contributions under this Section are voiuntary; but once a
Member shall have agreed to make an additional capital contribution hereunder,
the Company shail have all of the rights and remedies set forth in this Agreement
resulting from the failure of the Member to make such capital contribution,

(iv) In the event that the entire Requirement Amount is not contributed by all
Members in proportion to their Profit Percentages in effect immediately prior to
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the First Requirement Notice, the Profit Percentages of the Members shall be
adjusted with prospective effect to take account of the additional capital
contributions made by the contributing Members in relation to the sum of (A)
those additional capital contributions and (B) the aggregate amount of the capital
contributions of the Members immediately prior to the additional capital
contributions.

5.3 Defaulting Members. The Company shall be entitled to enforce the obligations of each
Member to make the contributions specified in this Article, and the Company acting at the direction of
Management shall have all remedies available at law or in equity in the event any such contribution is not
so made. The Company shall be entitled to recover the reasonable attorney’s fees and other costs of
enforcing the Members’ obligations under this Article, and shal] also be entitled to recover interest on any
unpaid contributions, from the due date of such capital contribution, at the Base Rate of Interest from time

to time in effect.

Article 6
Distributions by the Compeny

6.1 Definitions. The following terms shal! have the following meanings:

“Available Cash” shali consist of all cash on hand of the Company irrespective of its source,
excluding, however, (i) “Capital Event Proceeds” (as defined below) and (ii) such reserves as

Management may establish.

“Capital Event Proceeds” shall consist of the net amount of cash received by the Company from
the sale, exchange, refinancing, condemnation, casualty loss or other disposition by the Company of its
assets outside of the ordinary course of business, less (i) the portion thereof disbursed by Management for
the payment of the Company’s debts and expenses and (ii) such other reserves as Management may
establish. Capital Event Proceeds shall include amounts distributed to the Company as an owner of
another entity to the extent that the amount distributed, in the hands of the distributing entity, is in the
nature of Capital Event Proceeds. Amounts released from a reserve of Capital Event Proceeds shal! be

treated as Capital Event Proceeds.

“Unreturned Capital” consists of so much of a Member’s actual capital contributions to the
Company that have not been returned to such Member by way of distributions made under this Article
that are identified (in the distribution provisions of this Article) as distributions of Unreturned Capital.

“Profit Percentages” of the Members shall be as set forth opposite each Member's signature to
this Agreement (cr in such Member’s subscription agreement, joinder to this Agreement or other
instrument admitting the Member to the Company), as the same may be adjusted from time to time in

accordance with this Agreement.

6.2 Distributions of Available Cash. Available Cash shall be distributed to the Members
according to their Profit Percentages at such times as Management shall determine.

63 Distributions of Capital Event Proceeds, Capital Event Proceeds shall be distributed to
the Members at such times as Management shall determine in the following rank and order:

(2) Among the Members in proportion to, and to the extent of, their Unreturned Capital.

(b) The remainder, if any, among the Members according to their Profit Percentages.

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6.4 Withholding of Taxes. If the Company is required to withhold and remit any Federal,
state, foreign or local taxes levied on all or part of a Member’s allocable Share of the Company's income,
the Company shall have the right to do so and such withholding by the Company shall be treated as a
distribution to the Member for whom such withholding is made and shall reduce the amount of future
distributions to be paid to such Member. In Management's discretion, the Member for whom such
withholding would be made shall make a capital contribution of immediately available funds in the
amount of any balance needed by the Company to satisfy such withholding lability within three days
after being so notified by the Company. Should a Member fail to timely make any such capital
contribution, such Member shall be in default and shall indemnify and hold the Company and the other
Members harmless for any costs, penalties, payments or damages incurred by the Company or the other
Members as a result of such failure, and such Member shall pay the Company interest in respect of any
disbursements made by the Company as a result of such Member failing to timely make the capital
contributions required by this Section at the Base Rate of Interest from time to time in effect. The
Company shall have the authority to apply and setoff any distributions to which such defaulting Member
would otherwise be entitled towards the satisfaction of the liabilities to the Company incurred by such
Member under this Section. This Section shall also have application to taxes that are not in the nature of
withholding taxes but are assessable against the Company with reference to (or where there is exemption
from based upon) the status or nature of a Member.

6.5 Priorities. Except as may be expressly provided in this Agreement, no Member shall
have a priority right over any other Member as to distributions.

6.6 Interest_on_ Capital Contributions. Except as may be expressly provided in this
Agreement, no interest shall be allowed to any Member upon the amount of its Unreturned Capital. Any
amounts distributed as a preferred return shall not be considered interest.

6.7 Set-Off Rights. The Company shall be entitled to set-off against any distributions or
other amounts that may be or become due to a Member from the Company any amounts that may be due
from such Member to the Company or another Member.

6.8 Restrictions on Distributions. No distributions may be made to the Members if, after
giving effect to such distributions, either the Company would be unable to pay its debts as they become
due in the usual course of business or the net assets of the Company would be less than zero.

Article 7

Accounting and Tax Matters

71 Books of Account, Management shall cause proper and true books of account to be
maintained for the Company in conformity with sound accounting principles consistently applied. There
shall be recorded in the Company's books of account the particulars of all monies, goods or effects
belonging to or owing to or by the Company, or paid, received, sold or purchased in the course of the
Company’s activities and all of such other transactions, matters and things relating to the Company as are
usually entered in books of account kept by companies engaged in activities of a like kind and character.

7.2 Method of Accounting and Fiscal Year. The Company’s books of account shall be

maintained on the cash or accrual basis, as determined by Management. The Company’s fiscal year shall
be the calendar year unless determined otherwise by Management.

7.3 Reports and Returs. As soon as practicable after the close of each fiscal year
Management shall provide each Member with such statements as shall be necessary to advise the
Members properly about their investment in the Company for income tax reporting purposes,
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Management shall be responsible for engaging an accountant to prepare and to see to the filing of all
Federal, state and local tax returns on behalf of the Company. Members acknowledge that the Company
may not be able to provide all information required for income tax reporting purposes on a timely basis
and that they should expect to extend the time for filing their income tax returns.

7.4 Capital Accounts. As part of the Company’s books of account, an individual “Capital
Account” shal] be maintained for each Member at all times in accordance with sound accounting

principles consistently applied.

7.5 Financial (Book) Allocations. The net profit or net loss of the Company, determined on
an annual basis in accordance with sound accounting principles, shall be allocated as follows:

(a) in the case of a net profit:

(i) If any net losses were allocated in any prior fiscal year pursuant to clause (b),
below:

(A) Among the Members to the extent of and in proportion to the prior
period allocations made to them or their predecessors in accordance with
clause (b){iii), below, not previously eliminated by allocation under this
clause. Allocations hereunder shall be made in the reverse order in
which such net losses were originally allocated (i.e., most recent net loss
allocations are reversed first).

(B) Among the Members to the extent of and in proportion to the prior
period allocations made to them or their predecessors in accordance with
clause (b)(ii), below, not previously eliminated by allocation under this
clause. Allocations hereunder shall be made in the reverse order in
which such net losses were originally allocated (i.e., most recent net loss
allocations are reversed first),

(C) Then in accordance with clause (ii), below.

(il) If net losses were not previously allocated among the Members pursuant to
clause (b), below, or if clause (i)(C), above, applies, then among all of the
Members according to their Profit Percentages.

{b) In the case of a net loss:

(i) If any net profits were allocated in any prior fiscal year in accordance with clause
(a){ii), above, then among the Members to the extent of and in proportion to the
° . prior period allocations made to them or their predecessors in accordance with
clause (a)(ii), above, not previously eliminated by allocation under this clause.
Allocations hereunder shail be made in the reverse order in which such net
profits were originally allocated (ie., most recent net profit allocations are
reversed first).

(ti) Then among the Members, to the extent of and in proportion to their Unreturned
Capital.

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(iti) = Then among the Members according to their Profit Percentages; but no allocation
of loss or deduction shall be made to a Member to the extent such allocation
causes or increases a deficit in such Member’s Capital Account balance at the
end of the fiscal year to which such allocation telates; such loss or deduction
Shall instead be allocated among the other Members in accordance with their
relative Profit Percentages, Subject to the limitations of this clause; except that
once all of the Members’ Capital Account balances have been reduced to zero,
such loss or deduction shall be allocated among the Members in a manner that
Management determined fairly comports with the Members’ economic interests
in the Company and risk of loss,

7.6 Tax Allocations, Except as provided herein, or as otherwise required by the Code or
Treasury Regulations promulgated thereunder (including, without limitation, Treasury Regulations
Section 1.704-1 and 1.704-2), Company income, gain, loss, deduction, credit and other partnership items,
as computed for Federal income tax purposes, shall be allocated among the Members in the same manner
as the corresponding book items are allocated Pursuant to Section 7.5.

77 Changes in Profit Percentages. In the event of any changes in any Member’s Profit
Percentage during a fiscal year, Management shall take into account the requirements of Code Section

706(d) and shall have the right to select any method of determining the varying interests of the Members
during the fiscal year which satisfies Code Section 706(d).

7.8 Tax Elections. Management shall have the right to make (and revoke) any and all tax
elections for the Company, including, without limitation, an election to adjust the tax basis of Company
assets under Code Section 754.

7.9 Administration of Tax Proceedings. Management shall appoint, remove and replace the

Company’s “Tax Matters Partner” as defined in Code Section 6231(a)(7) (referred to herein 2s the “Tax
Matters Member”). The Tax Matters Member shall have the right to resign by giving 30 days written
notice to the Members. Upon the resignation of the Tax Matters Member, a successor Tax Matters
Member shail be selected by Management.

7.10 Federal Taxpayer Identification Number. Management hereby authorizes Michael

Dardashtian to apply for a Federal taxpayer identification number for the Company and to execute in
connection therewith Internal Revenue Service Form SS-4 as an authorized signatory for and on behalf of
the Company or any of its Members or members of Management.

 

Article 8

Management of the Company

8.1 Management by Managers. The affairs of the Company shall be managed and controlled
by Management in accordance with this Agreement generally and this Article in particular. Management
shall be comprised of one or more “Managers.”

{a) Number. There shall be two (2) Manager(s) of the Company.

(b) Appointment of Manager(s). The Members appoint the person or persons identified on
the first page of this Agreement as the initial Manager(s) of the Company.

(c) Decision-Making. Whenever Management shall be required to take any action, make any
decision or exercise any discretion and there shall be more than one Manager, then except as otherwise

 
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provided in this Agreement, the action, decision or exercise of discretion shall require the approval of all
of the persons appointed as Manager.

(d) Removal and Replacement of Managers. Members holding at least fifty-one (51%)
percent of the Profit Percentages shall have the authority at any time and from time to time to (i) remove a
Manager from office and (ii) appoint a new Manager whenever there is a vacancy in the office of
Manager. A successor Manager shall be entitled to all of the rights and privileges of the Manager, as
Manager, to whose position it succeeded, and shall be subject to all of the obligations of the predecessor
Manager, as Manager, whether or not such successor Manager is a signatory to this Agreement.

Michael Dardashtian (and his successors collectively) shall have the authority at any time and
from time to time to remove and replace Michael Dardashtian (and any of his successors) as Manager.
David Gitman (and his successors collectively) shall have the authority at any time and from time to time
to remove and replace David Gitman (and any of his successors) as Manager. A successor Manager shall
be entitled to all of the rights and privileges of the Manager, as Manager, to whose position it succeeded,
and shal! be subject to all of the obligations of the predecessor Manager, as Manager, whether or not such
successor Manager is a signatory to this Agreement.

8.2 Authority of Management.

(a) Exclusive Right to Manage. Except as otherwise provided herein, Management shall
have the sole and exclusive right and authority to operate, manage, conduct and control the affairs of the
Company. Management shall make all decisions affecting the affairs of the Company and shall cerry out
the purposes of the Company as Management deems proper, convenient or advisable.

(b) Power and Authority. Without limiting the generality of the foregoing, and consistent
with the purposes of the Company, Management shall have all of the rights, powers and authority under
the Act and otherwise as provided by law, including the right, power and authority to: acquire assets;
purchase goods and services; sell, exchange, lease, license or otherwise deal in or with any and all assets
of the Company; open and maintain one or more bank accounts and designate (and change the designation
of) signatories thereon; borrow funds to finance the Company’s activities and in connection with such
borrowing, mortgage, hypothecate, pledge, lien or otherwise encumber the revenues and assets of the
Company; guaranty the debts of affiliates and others when Management believes it will benefit the
Company to do so; enter into any contract or agreement or amend or cancel the same; and invest and
reinvest any funds or other assets of the Company ~— all as incident to or necessary for the operations of
the Company. Without limitation of the foregoing, and for the avoidance of any doubt, it is explicitly
deciared that Management has the right, power and authority to sell, exchange or otherwise dispose of all
or substantiaily all of the Company’s assets, including in a transaction that is not in the ordinary course of

business.

(c} No Duty to Inquire. Nothing herein contained shail impose any obligation on any person
or firm doing business with the Company to inquire as to whether or not Management has exceeded its
power and authority in executing any agreement, contract, lease, mortgage, security agreement, deed or
other instrument on behalf of the Company, and any such third person shall be fully protected in relying
upon such authority. Management may designate one or more persons to act as authorized signatories of
the Company and the signatures of such authorized signatories on any agreement, contract, lease,
mortgage, security agreement, deed or other instrument shail be binding on the Company.

{d) General Proscriptions, Without the written consent or ratification of all of the Members,
Management shall have no authority to expend or use Company money or property other than on the

 
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account and for the benefit of the Company or to pledge any of the Company’s credit or property for other
than Company purposes.

8.3 Management’s Time Commitment. Management shall cause so much time to be devoted

to the business of the Company as, in its judgment, the conduct of the Company’s business shall
reasonably require,

8.4 Compensation of Management. Management shall not be entitled to any fees or other

remunerations for its services in managing the Company. Insofar as a member of Management is a
Member, this Section shall not be construed to limit such Member’s share of distributions under this

Agreement.

8.5 Expenditures by Management. The Company shall reimburse Management for any costs
that may be properly expended on behalf of the Company made out of funds other than those of the

Company.

8.6 Related Business Partners, Management may employ, contract for services with, acquire
or sell goods, property and materials from or to and otherwise deal with any Member, any member of
Management or any affiliate of the foregoing on any basis which is customary and competitive, or
otherwise fair and reasonable,

8.7 Liability of Management. Management (which for purposes of this Section and Section
8.8 shail include its partners, officers, directors, shareholders, members, managers, employees, agents and
affiliates) shall not be liable to a Member or the Company for honest mistakes of ‘judgment, or for action
or inaction, taken reasonably and in good faith for a purpose that was reasonably believed to be in the best
interests of the Company, or for losses due to such mistakes, action or inaction, or for the negligence,
dishonesty or bad faith of any employee, broker or other agent of the Company, provided that such
employee, broker or agent was selected, engaged or retained and supervised with reasonable care.
Management may consult with counsef and accountants in respect of Company affairs and be fully
protected and justified in any action or inaction that is taken in accordance with the advice or opinion of
such counsel or accountants, but if, and only if, they shall have been selected with reasonable care. The
Members shall look solely to the assets of the Company for the return of their capital and, if the assets of
the Company remaining after payment or discharge of the debts and liabilities of the Company are
insufficient to return such capital, they shall have no recourse against Management for such purpose.
Notwithstanding any of the foregoing to the contrary, the provisions of this Section shall not be construed
to relieve (or attempt to relieve) any person of any liability by reason of gross negligence, recklessness or
intentional wrongdoing or to the extent (but only to the extent) that such liability may not be waived,
modified or limited under applicable law, but shall be construed So as to effectuate the provisions of this
Section to the fullest extent permitted by law.

8.8 Indemnification. The Company shall indemnify any person who was or is a party, or is
threatened to be made a party, to any threatened, pending or completed action, suit or proceeding (other
than an action by or in the right of the Company), whether civil, criminal, administrative or investigative,
by reason of the fact that the person is or was a manager, member, officer, employee or agent of the
Company, or is or was serving at the request of the Company as a director, manager, officer, employee or
agent of another limited iiability company, corporation, partnership, joint venture, trust or other
enterprise, against expenses (including attorney’s fees and costs), judgments, fines and amounts paid in
settlement actually and reasonably incurred by the person in connection with the action, suit or
proceeding, if the person acted in good faith and in a manner the person reasonably believed to be in, or
not opposed to, the best interests of the Company or, with respect to any criminal action or proceeding,
had no reasonable cause to believe the person’s conduct was unlawful. The termination of any action,

 

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suit or proceeding by judgment, order, settlement, conviction or upon a plea of nolo contendere or its
equivalent shall not, of itself, create a presumption that the person did not act in good faith and in a
manner that the person reasonably believed to be in, or not opposed to, the best interests of the Company
or, with respect to any criminal action or proceeding, that the person had reasonable cause to believe that
the person’s conduct was unlawful.

8.9 Officers of the Company. Management may from time to time appoint one or more
persons to serve as officers of the Company, in such capacities and with such delegated rights and powers
as Management may approve; provided, however, that no such officer shall have any different or greater
rights and powers than Management has under this Agreement. Officers appointed by Management shall
be entitled to be indemnified by the Company in accordance with Section 8.8.

Article 9
Membership in the Company

9.1 Rights and Obligations of the Members. Uniess a Member is a member of Management,

and except as expressly provided in this Agreement to the contrary, no Member shall take part in the
contro] or management of the Company, nor shaj] any Member have any authority to act for or on behalf
of the Company or to sign for or bind the Company. Unless admitted to the Company as a Member in
accordance with Article 10, no person who is not a signatory to this Agreement shall be considered a
Member. The Company and Management need deal only with persons as Members that are so admitted
and shall not be required to deal with any other person (other than with respect to distributions to
assignees pursuant to assignments in compliance with Article 10) merely because of an assignment or
transfer of an interest to such person or by reason of the incapacity of a Member. Any distribution made
in accordance with this Agreement by the Company to the person shown on the Company records as a
Member or to its legal representatives, or to the assignee of the right to receive Company distributions as
provided herein, shall acquit the Company and Management with respect to such distribution of all
liability to any other person that may have an interest in or claim to such distribution by reason of any
other assignment by the Member with respect to such distribution or by reason of such Member's
incapacity, or for any other reason.

9.2 Liability, No Member shall be personaily liable for any of the debts of the Company or
any of the losses thereof beyond the amount contributed or required to be contributed by it to the
Company under this Agreement and as otherwise specified in the Act.

9.3 Expenditures of Members. In the discretion of Management, the Company may
reimburse the Members for any costs that may be properly expended by them on behalf of the Company
made out of funds other than those of the Company.

9.4 Partition and Accounting. No Member shall have the right to partition any property of
the Company during the term of this Agreement, or while such assets are held in trust pursuant to Section
16.4, nor shall any Member make application to any court of authority having jurisdiction in the matter or
commence or prosecute any action or proceeding for such partition and the sale thereof, and upon any
breach of the provisions of this Section by any Member, the other Members, in addition to all of the rights
and remedies in Jaw and in equity that they may have, shall be entitled to a decree or order restraining and
enjoining such application, action or proceeding. To the maximum extent permitted by Jaw, the Members
specifically renounce, waive and forfeit all rights, whether arising under contract or statute or by
operation of law, to seek, bring or maintain any action in any court of Jaw or equity for an accounting.

9.5 Resignations and Withdrawals. No Member shall be entitled to withdraw or resign from
the Company, except pursuant to the terms of this Agreement. No Member shall be entitled to receive

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any money or property from the Company except (a) by way of distributions as provided pursuant to
Article 6, (b) by way of distributions upon the winding-up of the Company pursuant to Article 16, (c) in
respect of any loans to the Company then due and owing to such Member and (d) as expressly provided
elsewhere in this Agreement.

9.6 Trustee Liability.

(a) Actions as Trustees. When this Agreement is executed by the trustee of any trust, such
execution is by the trustee, not individually, but solely as trustee in the exercise and under the power of
authority conferred upon and vested in such trustee, and it is expressly understood and agreed that nothing
herein contained shall be construed as creating any liability on the part of any such trustee personally to
pay any amounts required to be paid hereunder, or to perform any covenant, either express or implied,
contained herein, all such liability, if any, being expressly waived by the parties hereto by their execution
hereof. Any liability of any Member which is a trust to the Company or to any third person shall be only
that of such trust to the full extent of its trust estate and shall not be a personal liability of any trustee,
grantor or beneficiary thereof.

{b) Successor Trustee. Any successor trustee or trustees of any trust which is a Member
herein shall be entitled to exercise the same tights and privileges and be subject to the same duties and
obligations as its predecessor trustee. As used in this Agreement, the term “trustee” shall include any or
all such successor trustees.

(c) Termination of Trust. The termination of any trust which is 2 Member shall not terminate
the Company. Upon the allocation or distribution of all or any portion of the Company interest of a trust
which is a Member pursuant to the exercise of any power of appointment, or otherwise, to a beneficiary of
such trust or to another person or persons or to another trust or trusts, whether or not such distribution
shall terminate such distributing trust, each such distributee shall be entitled to be admitted to the
Company as a Member to the extent of the proportionate share of the Company interest distributed to it,
subject to the terms of this Agreement, including, without limitation, the restrictions contained in Article

10.

Article 10

Transfers by Members and Issuance of Additional Interests
10.1 Transfers by Members.

(a) Generally, Except as set forth herein, no Member shall sell, exchange, pledge, mortgage,
hypothecate or otherwise transfer or encumber its interest in the Company without the prior written
consent of Management. Any such transfer or encumbrance shall be void from inception and of no force
or effect whatsoever. Direct or indirect transfers of interests in entities that are Members shall also be
subject to the limitations of this Section.

(b) Permitted Transferees. Management shall not unreasonably withhold or delay its consent
to a transfer of all or any part of a Member’s interest to a Permitted Transferee. In the case of a Member
who is an individual, a Permitted Transferee is (i) such Member's spouse; (ii} a lineal descendant or
ancestor of such Member or a spouse of any of the foregoing; (iii) a trust established for the benefit of the
Member or any person described in clauses (i) or (ii), above; (iv) any entity wholly-owned and controlled
by the Member and/or any one or more of the persons described in clauses (i), (ii) or (iti), above: or (v)
any other Member. In the case of a Member who is an entity, a Permitted Transferee is any person who is
directly or indirectly controlled by the Member or directly or indirectly controls the Member: as used
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herein, “control” means possessing more than 50 percent of the capital, profits and voting rights of an
entity.

10.2 Transfers by Management. Management is an agent of the Company and its interest in
managing the affairs of the Company is not susceptible of being and may not be sold, assigned, pledged,
mortgaged or otherwise disposed of or transferred. Insofar as a member of Management is a Member or
is otherwise entitled to distributions under Article 6, Section 10.1 shall govern the transfer of such
member of Management’s right te distributions and other economic interests in the Company.

10.3. Issuance of Additional Interests,

(a) Additional Members and Membership Interests. Management may admit into the
Company one or more additional Members or issue additional membership interests to existing Members
on such terms as Management may determine is fair and reasonable.

(b) Adjustment of Profit Percentages. Upon the admission into the Company of one or more
additional Members or the issuance of additional interests to existing Members, Management is
authorized to adjust the Profit Percentages of the existing Members to take account of the additional
capital contributions made by the additional Members in relation to the sum of (A) those additional
capital contributions and (B) the aggregate capital contributions of the Members immediately prior to the
capital contributions of the additional Members. The dilution of Profit Percentages of the existing
Members shall be in proportion to the existing Members’ Profit Percentages. If an additional or existing
Member is to receive a Profit Percentage (or an additional Profit Percentage) and is not required to make a
capital contribution in respect of same, Management is authorized to dilute the Profit Percentages of the
existing Members in proportion to the existing Members’ Profit Percentages.

Nothing herein contained shall be construed to require or cause the dilution of any so-called carried
interest or promote interest that may inure to a Member or a member of Management.

(c) Rights and Obligations of Additional Members. Additional Members shall be entitled to
all of the rights and privileges of the original Members hereunder and shall be subject to all of the
objigations and restrictions hereunder, and in all other respects their admission shall be subject to all of
the terms and provisions of this Agreement.

10.4 General Provisions. The following rutes shall apply to transfers of Company interests
and the admission of additional persons to the Company:

(a) Procedure for Admission. No person shail be admitted as a transferee or additional
Member hereunder unless and until (i) in the case of an assignment of an interest in the Company
permitted hereby, the assignment is made in writing, signed by the assignor and accepted in writing by the
assignee, and a duplicate original of the assignment is delivered to and accepted by Management, and (ii)
the prospective admittee executes and delivers to the Company a written agreement, in form and
substance satisfactory to Management, pursuant to which said person agrees to be bound by this
Agreement.

(b) Binding Effect. Any person acquiring or claiming an interest in the Company, in any
manner whatsoever, shall be subject to and bound by all! terms, conditions and obligations of this
Agreement to which its predecessor in interest, if any, was subject or bound, without regard to whether
such person has executed a counterpart hereof or any other document contemplated hereby. No person,
including the legal representatives, heirs or legatees of a deceased Member, shall have any rights or
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obligations greater than those set forth herein and no person shall acquire an interest in the Company or
become a Member except as permitted hereby.

(c) Actions Prior to Acceptance of. Assignment. Notwithstanding that a person acquiring or
claiming an interest in the Company is bound by all terms, conditions and obligations of this Agreement
to which its predecessor in interest, if any, was subject or bound, the Company and Management shall be
entitled to treat the assignor of the assigned interest as the absolute owner thereof in ail respects and shall
incur no liability for distributions made in good faith to such assignor prior to such time as the documents
specified in this Section have been delivered to and accepted by Management. Any person to whom an
interest in the Company is attempted to be transferred in violation of this Article shall not have the rights
of a Member of the Company otherwise provided under the Act, including, but not limited to, the right (i)
to receive distributions from the Company, (ii) to vote on any matter, (iti) to participate in the
management of the Company, {iv) to act as an agent of the Company, (v) to obtain any information or
accounting of the affairs of the Company or (vi) to inspect the books or records of the Company. If,
however, by law, the Company is required to recognize the purported transfer of a Member’s interest in
the Company, the purported transferee’s rights shall be strictly an economic interest in the Company
limited solely to distributions (and accompanying allocations) as provided by this Agreement with respect
to such economic interest, and the Member whose interest in the Company has purportedly been
transferred shall have no right to any distributions with respect to such interest in the Company. Any
distributions to such purported transferee may be applied (without limiting any other legal or equitable
rights of the Company) to satisfy any debts, obligations or liabilities for damages that the transferor or
transferee may have to the Company. A Member attempting to engage in any purported transfer that has
not been approved in writing by Management shall be liable to indemnify and hold harmless the
Company and the other Members from ail costs, liability and damages that either of them may incur
(including, but not limited to, incremental tax liability and attorney's fees and expenses) as a result of
such purported transfer. For purposes of this paragraph, an economic interest in the Company shall mean
4 person’s interest in the Company including, without limitation, such persen’s rights to distributions (and
accompanying allocations), but excluding the right to vote and otherwise to participate in the management
and control of the affairs of the Company.

(d) Consent of Members. Each Member hereby consents to the substitution of any assignee
of a Member’s interest or the admission of any additional person as a Member as approved by
Management.

(e) Costs. The costs incurred by the Company in processing an assignment (including
attorney’s fees and costs) shall be borne by the assignee, and shall be payable prior to and as a condition

of admission to the Company.

Article 11

Miscellaneous Provisions

I!.1 Loans from Members. If Management determines that it would be in the interests of the
Company to borrow funds from a Member or an affiliate of a Member, then prior to accepting any such
funds:

 

(a) Notice to Members. Management shall send to each Member a notice (the “Loan
Notice”), which shall advise each Member of the total amount of funds which the Company seeks to
borrow (the “Loan Amount”), the terms of the proposed borrowing (including the rate of interest and the
collateral security, if any) and the date on which such funds are required (the “Loan Date”). The Loan
Date shall be not less than five days after the Loan Notice. Said borrowing may be secured or unsecured,
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as determined by Management in its sole discretion, but shail be evidenced by one or more promissory
notes as are customary.

(b) Election to Participate. Within five days of the date of the Loan Notice, Members may
elect to participate in the borrowing by delivering to Management written notice of the same, together
with its portion of the Loan Amount. The portion of the Loan Amount which each Member may elect to
lend to the Company shall be determined pro rata according to the Members’ Profit Percentages. Any
portion of the Loan Amount not loaned by the Members in accordance with this Section may be loaned by
any Member or affiliate of a Member as Manegement may determine.

(c) Excuse. The provisions of this Section shall not apply to short-term loans made in
exigent circumstances bearing a market rate of interest.

(d) Priority. Management shail have the discretion to repay all loans from Members or
affiliates of Members before distributions are made to the Members under Sections 6.2 or 6.3.

11.2 Right of Reimbursement and/or Contribution. In the event any Member (or affiliate of a
Member) guaranties any indebtedness of the Company, then the Company shall promptly reimburse the
guarantor for any and all payments made by the guarantor thereunder. Without limitation of the
foregoing sentence, and notwithstanding the terms of any such guaranty, as between and among the
Members, each of the Members shall be liable with respect to such guaranty in proportion to such
Member's Profit Percentage. If any Member (or affiliate of a Member) makes payment with respect to a
guaranty of Company indebtedness that at time of demand has not been reimbursed by the Company, the
other Members shall immediately make a payment to such Member (or such affiliate of a Member) such
that after all payments between and among the Members are made, each Member shail have contributed
to the payment of such guaranty an amount equal to the amount of such payment multiplied by such
Member’s Profit Percentage. Any Member and any affiliate of a Member making payment on any such
guaranty or making a contribution in respect thereof shail have the right to enforce this Section. This
Section shall apply to any person who holds an interest in the Company, whether or not such person is a
Member. In the event that the obligation under the guaranty arises by reason of the gross negligence,
fraud or willfil misconduct of a particular Member (or affiliate of a particular Member), that Member
shall be solely responsible for funding the reimbursement obligations described herein.

11.3. Conversion. Notwithstanding anything to the contrary in this Agreement, Management
shall have the right and power in its sole discretion to cause the Cempany to contribute its assets to,
merge with, consolidate with or convert into any other entity formed under the laws of the State or the
laws of any other state in accordance with the Act, whereupon the assets and liabilities of the Company
shali become the assets and liabilities of such other entity, the Members (including Management) or, in
the case of a contribution, the Company, shall become the owner(s) of such other entity (without
modification of their economic interests inter se), and Management shall become the controlling person
of such other entity. By way of illustration and not by way of limitation, the Company may be converted
into a limited partnership in which Members are limited partners and Management is the general partner,
cr into a real estate investment trust in which Members are non-voting shareholders and Management is
the sole voting shareholder. Should the Company merge with, consolidate with or convert into another
entity in accordance with this Section, Members agree that they shall be bound by the terms of the
organizational documents of such entity as presented by Management. Such organizational documents
(viewed as if they were amendments to this Agreement) shall comport with Section 15.1. The execution
of such organizational documents (viewed as if they were amendments to this Agreement) shall be subject

to Section 15.2.
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11.4 “Bring-Along” Rights. In the event that Management proposes to enter into one or more
agreements to sell to any person or persons (referred to herein collectively as the “purchaser” all or
substantially all of the membership interests in the Company in a single transaction or related series of
transactions in lieu of a sale of all or a substantial part of the assets of the Company, all of the Members
hereby agree to sell their respective interests in the Company to the purchaser on the terms set forth in
such agreements. The agreements shall provide for the payment to the Members for their interests in the
Company amounts equal to the amounts that they would have received had the Company (a) sold all of its
assets at the price implicit in the price to be paid by the purchaser for the membership interests in the
Company, (b) satisfied all of its obligations and (c) made liquidating distributions to the Members in
accordance with Article 16 hereof. The costs associated with the sale shall, in general, be borne by the
Members in the same proportion. Management may reallocate among the Members so much of the
considerations that a Member would be entitled to receive as equals the amounts which such Member
then owes to the Company or to another Member. Amounts that the purchaser agrees to pay in
consideration of consulting, employment, non-competition and similar agreements shail be allocated (if
not allocated in the agreements) among the Members as Management shall deem reasonable and
appropriate. Management is hereby granted by each Member a power of attorney, coupled with an
interest, to execute in the name of the Member any and all agreements, contracts, documents and other
instruments (ihcluding instruments of assignment) which Management deems necessary or useful in order
to consummate the transactions aforesaid; said instruments shall be deemed to have been executed on
behalf of the Members as if signed by the Members themselves.

11.5 Redemption of Interests.

{a) Membership Interests Subject to Redemption. The interests of any Member in the
Company shall be subject to redemption (i.¢., purchase by the Company) as provided in this Section.

{b) Election to Redeem Made by Management. The decision to redeem a Member’s interest
in the Company in accordanée with this Section shall be made by Management in its sole discretion, but
only in the following circumstances applicable to a Member:

(iD Willful or serious misconduct by the Member with respect to the business,
operations or assets of the Company.

(ii) Fraud or dishonesty on the part of the Member, whether or not with respect to the
business or affairs of the Company, which affects the business, operations, assets
or reputation of the Company.

(iil) | The Member’s conviction of a felony crime, or a non-felony crime involving an
act of moral turpitude.

(iv) _ A transfer by the Member of its interest in the Company in violation of this
Agreement,

{v) An attempt by the Member to withdraw from the Company in violation of this
Agreement.

(vi) An attempt by the Member to partition the property of the Company in violation
of this Agreement.

(vil) A breach by the Member of any of the other terms, conditions and obligations
contained in this Agreement.
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(viii) A failure to contribute additional capital to the Company pursuant to
Management’s call in Section 5.2(b) above.

(ix) A breach by the Member of any employment agreement between the Member
and the Company.

{x) Any event resulting in a seperation of the Member from service to the Company
as an employee, contractor or agent.

For purposes of clauses (i), (ix) and (x), the term “Company” shall include the Company and any of its
subsidiaries or other affiliates.

The interests of all transferees, successors or assignees of a Member (including a Permitted Transferee)
shall also be subject to redemption under this Section if any transferee, successor or assignee has engaged
in any of the acts described in the clauses set forth above or if, in the case of a partial assignment, the
assiguing Member (while a Member) engaged in any of the acts described in the clauses set forth above.

(c) Redemption Notice. If Management decides to redeem a Member in accordance with this
Section, Management shal! send such Member (the “Redeemed Member”) written notice (the
“Redemption Notice”) of its decision. The Redemption Notice shall specify the date on which the
redemption shall close (the “Redemption Closing Date”); the Redemption Closing Date shall be
established in accordance with paragraph (f).

(d) Purchase Price. The purchase price (the “Purchase Price”) of a Redeemed Member's
interest shall equal (i) the amount that the Redeemed Member would have received had the Company (A)
terminated on the date the Redemption Notice was given, (B) sold all of its assets at their fair market
values on the date the Redemption Notice was given, (C) satisfied all of its debts and obligations and (D)
made distributions to the Members in accordance with Section 16.2, less (ii) any distributions made to the
Redeemed Member after the date the Redemption Notice is given to Redemption Closing Date, The fair
market values of the Company’s assets shall be determined by Management.

(e) Payment of Purchase Price. The Purchase Price shall be paid in the form of an
unsecured promissory note (the “Redemption Note”) payable to the Redeemed Member and payable over
a three year term. The principal amount of the Redemption Note shall bear interest at the lowest rate
necessary to avoid the imputation of additional interest for Federal income tax purposes. Level payments
of interest and principal shall be made on the note on a quarterly basis to fully amortize the principal
balance over the term of the Redemption Note. The first payment under the Redemption Note shall be
due 90 days after the Redemption Closing Date. The Redemption Note shall be prepayable at any time
and from time to time. The outstanding balance of the Note shall be prepaid upon the dissolution of the
Company in accordance with Section 16.2(b).

(f) Redemption Closing Date and Closing Deliveries. The Redemption Closing Date shall
be on a date and at the time specified by Management in the Redemption Notice but not later than the
30th day following the date the Redemption Notice is given. Closing shall occur at the Company’s
principal office or at such other place specified by Management in the Redemption Notice. At the closing
the Company shail tender the Note to the Redeemed Member and the Redeemed Member shall accept the
same and execute such documents of transfer as Management may request. If the Redeemed Member
shall not accept the tender or execute said documents, Management shall be entitled to execute the
documents of transfer for and on behalf of the Redeemed Member, with the same effect as if the
Redeemed Member had done so itself, and the contemplated transfer shall be deemed closed once
Management has deposited the Note (i) as an interpleader in any court of competent jurisdiction or (ii) in

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a non-interest bearing escrow account at any established title company, trust company or banking
institution, under instructions that the same {and any payments made under the Note after such deposit)
may be withdrawn by the Redeemed Member upon demand, The closing of a redemption as
contemplated in this paragraph shail not prejudice a Redeemed Member’s right to contest the amount of
the Purchase Price but a Redeemed Member Shall not be permitted to contest the closing as contemplated

by this paragraph.

(g) Allocation of Redeemed Member's Interest. The Percentage Interest of a Redeemed
Member shall be reallocated among the Members in accordance with their relative Profit Percentages. If
a member of Management possesses a Profit Percentage, the reallocation shall also include such member
of Management.

Article 12

Special Covenants

12.1 Competitive Undertakings, Except as otherwise provided herein, any Member and
Management may engage in business ventures of any nature and description independently or with others,
including, but not limited to, business of the character described in Article 3 (or any part thereof), and
neither the Company nor any of the Members shall have any rights in or to such independent ventures or
the income or profits derived therefrom.

12.2 Confidentiality.

discover, develop, generate or contribute to the Company’s Confidential Information (as defined below).
Each Member agrees that it will not, at any time or in any manner, either directly or indirectly, publish,
communicate, divulge, disclose, disseminate or otherwise reveal to any person or entity, or use for any
purpose whatsoever any Confidential Information, except as may be necessary in the course of
performing authorized services for the Company or as may be required by applicable order of court, law,
statute or regulation, Each Member further agrees to notify the Company before disclosing any
Confidential Information under compulsion of law. Each Member hereby acknowledges that all
Confidential Information is valuable, material and will Significantly affects the effective and successful
conduct of the Company’s business and its goodwill. Each Member will take all necessary steps and
precautions to protect any Confidential Information and shall comply with all policies of the Company in
regard to Confidential Information. Upon the Company’s request, any Member shall promptly return to
the Company any and all correspondence, notes, data and documents containing or reflecting Confidential
Information, keeping no copies for himself. The rights and protections granted herein are in addition to
the rights, remedies and protections afforded to the Company under any applicable law, statute or
regulation.

(b) Definitions. For the purposes of this Agreement, the term “Confidential Information”
shall mean all information or data relating to the business and affairs of the Company not generally
known outside of the Company, including, without limitation, any of the Company’s processes, data,
designs, compilations of information, apparatus, computer programs, information of or relating to
suppliers or customers, customer requirements, cost or price data, research data, business plans, marketing
or sales plans or information, financial data, salary information, policies and procedures, sales know-how
or any other information that may be considered to be proprietary to or a trade secret of the Company,
whether or not such information is considered a trade secret within the meaning of applicable law.
Information shall not be considered “Confidential Information” if any of the following apply:

 
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(i) It is already in or enters into the public domain otherwise than as a consequence
of a breach of the terms of this Agreement.

(ii) it is already properly and lawfully in the possession of the receiving party and is
not subject to any obligation of secrecy on the receiving party’s part.

(iit) It becomes available to a party on a non-confidential basis from a source other
than the Company, provided that such information was properly and lawfully in
the possession of such source and not, so far as the receiving party is aware (after
making due and careful inquiry), subject to any obligation of secrecy on the part
of such source.

Article 13
Securities and Other Matters

13.1 No Registration Statement. The interests evidenced by this Agreement have not been
registered with the Securities and Exchange Commission or any state but have been issued pursuant to
exemptions under the Federal Securities Act of 1933, as amended (the “Securities Act”), and applicable

state securities laws.

13.2 Transfers of Interests Restricted. The sale, transfer, pledge, hypothecation or other

disposition of any of interests in the Company is restricted and may not be accomplished except in
accordance with this Agreement and an applicable registration statement or an opinion of counsel
satisfactory to Management that registration is unnecessary or an exemption from registration under the
Securities Act and applicable state securities laws.

Article 14

Intentionally Omitted

Article 15
Amendments to Operating Agreement

15.1 Amendments. The terms of this Agreement may be modified or amended at any time and
from time to time with the written consent of Management and Members holding a majority of the Profit
Percentages; but, in no event shall any modification or amendment to this Agreement (a)
disproportionately decrease the right of any Member to distributions; (b) cause any Member to incur any
personal additional liability with respect to the Company; or (c) amend this Article — uniess in each case
the Members adversely affected thereby consent in writing to such modification or amendment.

15.2 Power of Attomey. Each Member hereby agrees that, upon the execution of this
Agreement, it shall and hereby does consent and appoint Management as its true and lawful attorney,
coupled with an interest in its name, place and stead to sign, execute, acknowledge, swear to and file any
and all documents which in the discretion of such attorney are required to be signed, executed,
acknowledged, sworn to or filed by the Member to discharge the purposes of the Company as
hereinabove stated or the provisions of this Agreement. Without limitation, among the documents which
Management may execute on behalf of each Member shall be the following:

(a) Any amendments to this Agreement, when this Agreement is amended in accordance
with Section 15.1.

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(b) The Charter and any other instrument which may be required of the Company pursuant to
the Act or the laws of any other jurisdiction and any amendments thereto that are not prohibited by
Section 15.1.

The grant of authority set forth in this Section is a Special power of attorney coupled with an interest, is
irrevocable and shall survive the death, incapacity, insolvency, bankruptcy, liquidation or dissolution of a
Member; may be exercised by Management for a Member by a facsimile signature or by listing the names
of all of the Members executing any instrument with the signature of Management, as attorney in fact for
all of them; and shall survive the delivery of an assignment by a Member of all or any portion of its
interest, except that where the assignee has been approved by Management for admission to the Company
as a substituted Member, the power of attorney shall survive the delivery of such assignment for the sole
purpose of enabling Management to execute, acknowledge and file any instrument necessary to effect
such substitution, and the grant of authority set forth in this Section shall be deemed to have been made
by such substitute Member.

Article 16

Winding-Up and Dissolution of the Company
16.1 Winding-Up and Dissolution Procedures, Upon an event described in Section 4.2, the

affairs of the Company shall be wound-up and the Company shall be dissolved. Management shall
preside over the winding-up and dissolution of the Company or may appoint one or more agents to do so.
Management shall make such filings in the State and in such other states in which the activities of the
Company make it necessary or desirable to do so and do or cause to be done such other acts and things as
shalt be required to dissolve the Company.

16.2 Distributions Upon Winding-Up. Except as otherwise provided in this Article, the

winding-up and dissolution of the Company shall involve:

{a) The orderly sale or other disposition of the Company’s non-cash assets within a
commercially reasonable time.

(b) The payment or settlement of (and where appropriate, the establishment of reasonable
reserves for) the Company’s debts and other obligations, including to Members who are creditors, in the
order’ of priority and to the extent provided by law.

{c) The distribution of any remaining sums among the Members in accordance with Section
6.3.

16.3. Distributions In Kind. In the event that Management determines that it is necessary or
desirable to make a distribution of Company property in kind, such property shall be transferred and
conveyed to the distributees as tenants in common so as to vest in them undivided interests in the whole
of such property in proportion to their respective rights to share in the proceeds of the sale of such
property in accordance with the provisions of Section 16.2(c). All such Company property shall be
valued at fair market value as determined by Management and shall be subject to such reasonable
conditions and restrictions as are necessary or desirable in order to preserve the value of the assets
distributed or for legal reasons.

 

16.4 Liquidating Trust. In the discretion of Management, alt or any portion of the
distributions that would otherwise be made to the Members pursuant to Section 16.2(c) may be
distributed to a trust established for the benefit of the Members for the purposes of liquidating Company
assets, collecting amounts owed to the Company and paying any debts or other obligations of the

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Company arising out of or in connection with the Company. Management shall appoint one or more
persons as liquidating trustee. The assets of any such trust shall be distributed to the Members from time
to time in the discretion of the Liquidating Trustee in the same proportions as the amount distributed to
such trust by the Company would otherwise have been distributed to the Members pursuant to this

Agreement.

16.5 Final Accounting. As part of the winding-up of the Company, a final accounting shail be
made of the activities of the Company from the date of the last previous accounting to the date of
dissolution. If a Member has a deficit in its Capital Account, such Member shall not be obligated to
contribute any amount of that deficit to the Company.

Article 17
General Provisions

17.1 Notices. Ali notices, demands, offers or other communications required or permitted to
be given pursuant to this Agreement shali be in writing and shall be transmitted by courier, recognized
overnight delivery service (such as FedEx) or first class (postage prepaid) certified U.S. mail. Any notice,
demand, offer or other communication shall be effective on the date of receipt at the address of the
addressee. Notices, demands, offers or other communications to a Member shall be addressed to the
Member at the address beneath the Member’s name on the signature page of this Agreement or, if
applicable, in such Member's subscription agreement. Notices, demands, offers or other communications
to the Company shall be addressed to the Company in care of Management. Notices, demands, offers or
other communications to Management shall be addressed to each member of Management at the address
beneath each such person’s name on the signature page of this Agreement. Any Member or member of
Management may change its address for all future notices, demands, offers or other communications by
giving notice to all of the other Members and members of Management stating its new address.

 

17.2 Successors. This Agreement and all the terms and provisions hereof shall be binding
upon the parties hereto and their respective legal representatives, heirs, successors and assigns, except as
expressly herein otherwise provided.

17.3. Third Party Benefits. Without limiting Section 17.2, the provisions of this Agreement are
intended solely to benefit the Company and the parties hereto and, to the fullest extent permitted by
applicable law, shall not be construed as conferring any benefit upon any other person; including without
limitation any creditor of the Company (and no such creditor or other person shall be a third party
beneficiary of this Agreement), and except as required by the Act, the Members shall have no duty or
obligation to any such creditor or other person to make any contributions or return any money or other

property to the Company.

17.4 Governing Law. This Agreement shal! be construed in conformity with the domestic
laws of the State, as applied to agreements whose only parties are residents of the State and which are to

be performed entirely within the State.

17.5 Severability. If any provision of this Agreement, or the application of such provision to
any person or circumstance, shall be held invalid by a court of competent jurisdiction, the remainder of
this Agreement, or the application of such provision to persons or circumstances other then those to which
it is held invalid by such court, shail not be affected thereby.

17.6 Other Rules of Construction. Every provision of this Agreement shall be construed
simply according to its fair meaning and not strictly for or against any Member (notwithstanding any rule

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of law requiring an Agreement to be Strictly construed against the drafting party), The following
additional rules of construction shall apply to this Agreement:

(a) All pronouns shall include the masculine, feminine or neuter thereof, wherever the
context and facts require such construction.

(b) The term “person” refers to an individual, corporation, partnership, joint venture, limited
liability company, limited liability partnership, association, joint stock company, statutory trust, common-
law trust, unincorporated organization, government authority or any other organization whether or not a
legal entity.

(c) The term “party” means a signatory to this Agreement, including a Member, member of
Management and any successor to any of the foregoing, whether or not such successor has executed or
otherwise joined in this Agreement. The fact that a Successor is a party shall not give that person any
greater rights than it has under the express terms of this Agreement. By way of illustration, a successor
who has not been admitted to the Company in accordance with Article 10 is a party to this Agreement for
purposes of the dispute resolution procedures in Section 17.8, but despite being a party is still subject to
the limitations of Section 10.4(c).

(d) All terms defined in this Agreement in the singular have the same meanings when used in
the plural and vice versa.

(e) The use of the word “including” herein shall not be considered to limit the provisions
which it modifies but instead shall mean “including without limitation” unless the provision states

otherwise.

fh Headings, titles and subtitles us are inserted for convenience of reference only and are to
be ignored in any construction of the provisions hereof.

(g) An “Article” of this Agreement is typically identified with a number (e.g., “Article 17”).
A “Section” of this Agreement corresponds to an Article and is typically identified with a number that
includes a decimal (e.g., “Section 17.6”). A “paragraph” of this Agreement corresponds to a Section and
is typically identified by a lower case letter (2g. paragraph “(g)”). A “clause” of this Agreement
corresponds to a paragraph and is typically identified with a roman numeral or an upper case letter (e.¢.,

“CD,” “” or (AY).

(h) Except where express reference is made to “business days,” references in this Agreement
to a number of days within which an action must be taken (including the giving of notice or the delivery
of documents) shall mean calendar days. Notwithstanding the preceding sentence, whenever the final day
on which an action must be taken (including the giving of notice or the delivery of documents) occurs on
a non-business day (i.e., Saturday, Sunday or a holiday recognized by the U.S. Federal government, the
State or the state in which the Company’s principal office is located), then such period or date shall be
extended until the immediately following business day.

17.7 Members Not Agents. Nothing contained herein shall be construed to constitute any
Member the agent of another Member, except as specifically provided herein.

17.8 Dispute Resolution. The Company and the parties to this Agreement hereby irrevocably
and unconditionally agree that any suit, action or proceeding arising out of or related to this Agreement or
the Company shall be brought only in the United States District Court for the Southern District or in the
Supreme Court of New York County, State of New York, and the specific choice from among the

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foregoing shall be determined by the party initiating such suit, action or proceeding. To the fullest extent
permissible by Jaw, the Company and the parties to this Agreement hereby consent to the personal
jurisdiction, venue and forum of such courts and hereby irrevocably and unconditionally waive any claim
or objection that it is not subject to the jurisdiction of such courts, that the venue is improper, that the
forum is inconvenient or any similar objection, claim or argument. Service of process on any of the
parties hereto with regard to any such action may be made and is considered legally proper by mailing the
process to such person by certified mail to the address of such person as provided in Section 17.1 or to
any subsequent address to which notices shall be sent.

17.9 Waiver of Trial by Jury. Each party acknowledges and agrees that any controversy
which may arise under this Agreement is likely to involve complicated and difficult issues, and therefore

each such party hereby irrevocably and unconditionally waives any right such party may have to a trial by
jury with respect to any litigation directly or indirectly arising out of or relating to this Agreement. Each
party understands and has considered the implications of this waiver. Each party makes this waiver
voluntarily.

17.10 Attorney’s Fees. If the Company, any Member or any member of Management obtains a
judgment in connection with a dispute arising under or in connection with any this Agreement, such party
shall be entitled to recover from the non-prevailing party its court costs, and reasonable attorney’s fees
and disbursements incurred in connection therewith and in any appeal or enforcement proceeding
thereafter, in addition to all other recoverable costs.

17.11 Remedies. Subject to any express provisions of this Agreement, no remedy conferred
upon the Company, any Member or any member of Management is intended to be exclusive of any other
remedy herein or by iaw provided or permitted, but each shall be cumulative and shall be in addition to
every other remedy given hereunder or now or hereafter existing at law, in equity or by statute.

17.12 Waiver. No waiver by the Company, any Member or any member of Management of any
breach of this Agreement shall be deemed to be a waiver of any other breach of any kind or nature, and no
acceptance of payment or performance by the Company, any Member or any member of Management
after any such breach shall be deemed to be a waiver of any breach of this Agreement, whether or not the
Company, any Member or any member of Management knows of such breach at the time it accepts such
payment or performance. No failure or delay on the part of the Company, any Member or any member of
Management to exercisé any right it may have shall prevent the exercise thereof by the Company, any
Member or any member of Management at any time such other may continue to be so in default, and no
such failure or delay shall operate as a waiver of any default,

17.13 Entire Understanding. This Agreement (and any subscription agreement that a Member
may have entered into with the Company in connection herewith) constitutes the entire understanding
among the Members and supersedes any prior understanding and/or written or oral agreements among
them with respect to the Company. In the event of any conflict between this Agreement (and any
subscription agreement that a Member may have entered into with the Company) and any other written or
oral communications between the Company, Management or any employee or agent of either, and the
Members (including any private placement memorandum for the issuance of interests in the Company),
this Agreement (and any subscription agreement that a Member may have entered into with the
Company) shall control and take precedence. Notwithstanding anything to the contrary contained in this
Agreement, the parties hereto acknowledge that, as of the date hereof, Management, on its own behalf
and/or on behalf of the Company, may agree in letters or other writings with one or more Members (each,
an “other agreement”), and may from time to time hereafter agree in other agreements entered into with
one or more Members to be admitted to the Company following the date hereof, in its sole discretion, to
exceptions or departures from the provisions of this Agreement. Each other agreement, as in effect from

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time to time, shall be incorporated herein by reference with respect to the Member or Members who are
parties thereto. The parties hereto agree that any such exceptions or departures contained in en other
agreement with a Member shall govern with respect to the Member who is a party to such other
agreement notwithstanding the provisions of this Agreement.

17.14 Further Assurances. Each of the parties hereto shall hereafter execute and deliver such
further instruments and do such further acts and things as may be required or useful to carry out the intent
and purpose of this Agreement and as are not inconsistent with the terms hereof. Recognizing that the
Company, the Members and the members of Management may find it necessary from time to time to
establish to third parties the then-current status of performance hereunder, each party hereto agrees, upon
the written request of another party hereto, reasonably from time to time, to furnish promptly a written
Statement of the status of any matter pertaining to this Agreement or the Company to the best of the
knowledge and belief of the party making such statements,

17.15 Counterparts and Electronic Transmission. This Agreement may be executed in

counterparts, each of which shall be an original, but all of which shall constitute one and the same
instrument. Signatures to this Agreement that are transmitted electronically (i.¢., via e-mail or facsimile)
shall be binding.

[Signatures begin on next page of this document]

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[Signature Page ta Operating Agreement]

IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be executed.

MANAGER:

Michael Derdashtian
Print Name of Manager

 

Signature

 

 

Address

MEMBERS:
Michael Dardashtian

Print Name of Member

 

Signature

 

 

Address

David Gitman
Print Name of Member

 

Signature

 

 

Address

 

 

 

MANAGER:
David Gitman
Print Name of Manager
Signature
Address
PROFIT CAPITA
PERCENTAGES CONTRIBUTIONS
50% $500.00
2
50% $500.00

FACLIENTS\Dardashtian, MichachExhibits to Affidavit\Exhibit 19B - ChannefReply - Agr. v1 10.5.16.doc
